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             EXHIBIT 39
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         EXHIBIT “J”
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December 6, 2023                                                                    Annaleigh E. Curtis


Via E-Mail                                                                                +1 617 526 6694 (t)
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Michael X. Liu
Williams & Connolly, LLP
680 Maine Avenue SW
Washington, DC 20024

Re: ModernaTX, Inc. v. Pfizer Inc., et al., C.A. No. 1:22-11378-RGS (D. Mass.)

Counsel,

We write in response to your November 22, 2023 letter concerning alleged deficiencies and/or
improper assertions of privilege on Moderna’s privilege log.

Moderna’s Communications with Other Parties

Defendants’ November 22, 2023, letter asserts that Moderna must produce withheld documents
or lift redactions on documents exchanged with certain other parties, some of whom Defendants
identify only by domain name. We note that Pfizer and BioNTech’s privilege logs do not even
contain domain name information/email addresses. Please supplement your privilege logs by
December 13, 2023 so that we may assess your claims of privilege over emails identified in your
logs.

Defendants’ incorrectly assert that Moderna’s correspondence with a number of outside
consultants commissioned by Moderna to provide information and guidance to facilitate legal
analyses are not privileged. Defendants’ position is contrary to well-established law. Where, as
here, outside consultants fill the role of providing specialized information or guidance that “is
necessary, or at least highly useful, for the effective consultation between the client and the
lawyer which the privilege is designed to permit,” privilege is not waived. United States v.
Kovel, 296 F.2d 918, 922 (2d Cir. 1961). Moderna’s privileged correspondence with outside
consultants fall squarely within this exception to the general rule of waiver.

       Flagship Ventures/Syndestine. Moderna was founded initially by Flagship Ventures
        under the name LS18 or Syndestine. In the early days of Moderna, Flagship Ventures
                                                    , including to facilitate legal and specialized
        guidance regarding intellectual property protection and analysis provided by Mr.
        Sieczkiewicz, who is an attorney then working for Flagship. Accordingly, Moderna’s
        correspondence with Flagship Ventures and/or Mr. Sieczkiewicz from the time period in
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        question is privileged.1 We note that Defendants have been aware of Moderna’s claim of
        privilege over such communications since at least September 8, 2023. See September 8,
        2023 Letter from D. Patel and accompanying Privilege Log.

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Defendants’ November 22, 2023 letter further identifies a small number of non-responsive
communications that are not relevant to the issues in this litigation and were inadvertently
included on Moderna’s privilege log. Moderna will serve an amended privilege log removing
these entries, but will not produce the documents and do not waive any privilege that may apply
to them.

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Entries on Moderna’s Log For Which No “From” or “Author” Data Exists

Defendants’ November 22, 2023 letter claims that Moderna must provide an amended privilege
log identifying “From” and/or “Author” information for “at least 313 entries” that Defendants
assert are lacking such information. Pursuant to Paragraph 1(f)(i) of the Standard for Discovery,
Including Discovery of Electronically Stored Information (“ESI”) in this case, Moderna need
only include “From (for emails) or Author (for all information other than emails)” information
on its privilege log “to the extent applicable.” ESI Order, ¶ 1(f)(i). To the extent entries on
Moderna’s privilege log do not include “From” or “Author” information, it is because there is no
such “From”/“Author” data for the document. Because there is no “From” or “Author” data for
these documents, the “From” and “Author” values in the ESI Order are not “applicable.”
Moderna has no obligation to manufacture data for documents where it does not exist.

Moreover, Moderna has already gone beyond its obligations under the ESI Order by providing
Custodian information for all documents, including those for which no “From” or “Author”
information is available. The Custodian information provided by Moderna for these documents
provides a reasonable substitute for the unavailable “From”/“Author” data as it informs
Defendants of the custodians likely to be knowledgeable of the documents. Because the data
Defendants seek does not exist and Moderna has already provided a reasonable substitute,
Moderna will not supplement its privilege log in this respect. We note that Defendants appear to
have taken a similar approach in their privilege logs. See, e.g., Pfizer Privilege Log Entry Nos.
52, 53, 62, 63, 108, 109, 117, 159, 206, 232, 435, 436, 480, 588 (providing “N/A” or “Microsoft
Office User” for “From”/“Author” data); BioNTech Privilege Log Entry Nos. 6, 16, 32, 35, 105,
175, 223, 226 (providing no “From”/“Author” data).
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Moderna’s Fifth Supplemental Privilege Log

Defendants’ November 22, 2023 letter raises three purported issues with Moderna’s Fifth
Supplemental Privilege Log.

First, Defendants’ assert that four documents described on Moderna’s Fifth Supplemental
Privilege Log reflect correspondence with Mr. Sieczkiewicz of Flagship Ventures, but that
Moderna has not “show[n] a common legal interest” with Flagship Ventures. As explained
above, in the timeframe during which those documents or communications were made, Mr.
Sieczkiewicz was an in-house attorney at Flagship Ventures who provided Moderna legal advice,
including specialized guidance regarding intellectual property protection and analysis provided
by Mr. Sieczkiewicz. Accordingly, Moderna correspondence with Flagship Ventures and/or Mr.
Sieczkiewicz is privileged. As we noted above, Defendants have been aware of this claim of
privilege since at least September 2023.

Second, Defendants complain that 33 documents described on Moderna’s Fifth Supplemental
Privilege Log refer to legal advice or analysis provided by Moderna’s legal department without
specifying a specific attorney. The fact that Moderna’s privilege log does not identify the
specific, individual attorneys for these communications does not allow Defendants to invade
Moderna’s attorney client privilege. Indeed, Defendants have taken the exact same approach
with respect to documents they have fully withheld from production. For example, Pfizer’s
privilege log identifies over 400 documents that Pfizer withheld in full on the basis that they
purportedly involve the                         BioNTech’s privilege log similarly includes
multiple entries that do not identify any specific attorney and instead refer generally to “legal
advice” or correspondence with “counsel.” See, e.g., BioNTech Privilege Log Entry Nos. 14, 19,
105. Defendants cannot reasonably suggest that Moderna must waive attorney client privilege or
else produce such information when Defendants themselves have failed to do the same.

Further, the documents in question are narrowly redacted to remove privileged information,
and—where possible—information confirming the privileged status is left unredacted. For
example, the sole redaction in MOD_000055812 comes below a heading regarding
and another redaction in MOD_001023204 comes under the heading
         Defendants’ complaints are thus misplaced and appear designed to distract the parties
from more important matters.

Third, Defendants assert that 25 documents described on Moderna’s Fifth Supplemental
Privilege Log purportedly redact factual information
                                 Defendants’ letter identifies Entry Nos. 3217, 3219-31, 3233,
3251-60. The information in the redacted areas reflects, as our log explains, legal advice or
analysis from
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Sincerely,


/s/ Annaleigh E. Curtis

Annaleigh E. Curtis
